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FILED BY__ ! ZZ D.C.
UNITED STATES DISTRICT COURT
FEB 03 2020

ANGELA LT, NOBLE
CLERK ULS. BIST. CT.
§.D. OF FLA, - MIAMI

 

 

 

PAULO RODRIGUEZ

600 NE 36 ST PH-22

MIAMI, FL 33137

PLAINTIFF

BANK OF AMERICA NATIONAL HEADQUARTERS JURY TRIAL DEMANDED
100 NORTH TRYON
CHARLOTTE, NC 28202

Attn: Owner Personally &/or Registered Agent For receipt of Legal Process Personally

&

CITI- 388-390 Greenwich St. New York, NY 10013 United States

Attn: Owner Personally &/or Registered Agent For receipt of Legal Process Personally

&

AMEX BUSINESS CARD-

Three World Financial Center 200 Vesey Street

New York, NY 10285-4803
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Attn: Owner Personally &/or Registered Agent For receipt of Legal Process Personally
&

COMERICA - Comerica Bank —

Corporate Headquarters 1601 Elm St #100 Dallas, TX 75201

Attn: Owner Personally &/or Registered Agent For receipt of Legal Process Personally
&
FAIRWINDS CREDIT UNION - 135 W Central Blvd Ste 1220 Orlando, FL 32801

Attn: Owner Personally &/or Registered Agent For receipt of Legal Process Personally
&
CAPITAL ONE-PO BOX 30281 SALT LAKE CITY, UT 84130

Attn: Owner Personally &/or Registered Agent For receipt of Legal Process Personally
&
NATIONAL UNION FIRE INSURANCE COMPANY (AIG)

175 Water Street
New York, NY 10038
Attn: Owner Personally &/or Registered Agent For receipt of Legal Process Personally

&

UNKNOWN INSURERS OF BANK OF AMERICA, CITI BANK, COMERICA BANK, FAIRWINDS CREDIT UNION,
CAPITAL ONE, AND AMERICAN EXPRESS

Care of BANK OF AMERICA, CITI BANK, COMERICA BANK, FAIRWINDS CREDIT UNION, CAPITAL ONE,
AND AMERICAN EXPRESS Respective Addresses listed above

Attn: Owner Personally &/or Registered Agent For receipt of Legal Process Personally

DEFENDANTS
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COMPLAINT FOR DECLARATORY RELIEF

AND DAMAGES FOR BANK FRAUD SCAM

Plaintiff PAULO RODRIGUEZ (“RODRIGUEZ”) files this Complaint against the named Defendant BANK
OF AMERICA NATIONAL HEADQUARTERS, CITI BANK, COMERICA BANK, FAIRWINDS CREDIT UNION,
CAPITAL ONE, AMERICAN EXPRESS (jointly hereafter “BANK OF AMERICA, CITI BANK, COMERICA
BANK, FAIRWINDS CREDIT UNION, CAPITAL ONE, AMERICAN EXPRESS”), and National Union Fire
Insurance Company of Pittsburgh, Pa. (“AIG”) together with any unknown other insurer owing
coverage for each respectively but not disclosed by name by them to date (jointly “Insurers” hereafter

interchangeably).

NATURE OF THE CASE

1. This is both a Complaint for Declaratory Relief and Damages suit as well as an insurance coverage
dispute arising out of the BANK OF AMERICA, CITI BANK, COMERICA BANK, FAIRWINDS CREDIT
UNION, CAPITAL ONE, AMERICAN EXPRESS and their Insurers’ failure to honor their obligations in
Commercial Crime Policies for which BANK OF AMERICA, CITI BANK, COMERICA BANK, FAIRWINDS

CREDIT UNION, CAPITAL ONE, AMERICAN EXPRESS paid substantial premiums but they have not
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properly processed RODRIGUEZS claim, nor reimbursed RODRIGUEZ, nor paid RODRIGUEZ to date

any sums that he lost.

2. RODRIGUEZ — as a consumer and retail banking customer and/or consumer credit customer of
BANK OF AMERICA, CITI BANK, CAPITAL ONE, AMERICAN EXPRESS - provided sums to BANK OF
AMERICA, CITI BANK, COMERICA BANK, FAIRWINDS CREDIT UNION, CAPITAL ONE, and AMERICAN
EXPRESS to process from the account for PAYMENT BY CHECK or otherwise ACH WIRE FROM THE
ACCOUNT to a company Called MOBE that BANK OF AMERICA, CITI BANK, COMERICA BANK,
FAIRWINDS CREDIT UNION, and CAPITAL ONE were all respectively well aware of the practices of

long before RODRIGUEZ came along.

3. On information and Belief BANK OF AMERICA, CITI BANK, COMERICA BANK, FAIRWINDS CREDIT
UNION, CAPITAL ONE, and AMERICAN EXPRESS each respectively purchased a primary Commercial
Crime Policy from AIG and an Excess Fidelity and Crime Policy from ‘An Anonymous undisclosed
Insurer’ (collectively, the “Policies”) to provide coverage for losses arising out of various financial

crimes, including computer fraud and other fraudulent transfers of funds.

4. The Named Insured under the Policies is BANK OF AMERICA, CITI BANK, COMERICA BANK,
FAIRWINDS CREDIT UNION, CAPITAL ONE, and AMERICAN EXPRESS respectively and regarding
claims of its Customers, Account Holders, and Clientele who are impacted by any such fraud and/or
claims regarding such fraud. Unless otherwise indicated, references in this Complaint to “AIG” or
“INSURERS” means AIG, the Subsidiary, or both of them, and any additional undisclosed insurer

owing contribution or primary coverage of claims involved.

5. Asadirect result of a targeted consumer Fraud and Multi-level marketing fraud incident, one or

more unknown bad actors fraudulently diverted — or caused the diversion of - more than
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$60,000.00 total collectively in funds that RODRIGUEZ owned, controlled and managed, and which
he kept in or moved through or received via loan from BANK OF AMERICA, CITI BANK, COMERICA
BANK, FAIRWINDS CREDIT UNION, CAPITAL ONE, AMERICAN EXPRESS consumer account/retail

consumer banking checking and/or savings accounts or via credit extension.

6. Despite acknowledging that the Fraud Incident triggered coverage under the Commercial Crime
Policy, BANK OF AMERICA, CITI BANK, COMERICA BANK, FAIRWINDS CREDIT UNION, CAPITAL ONE,
AMERICAN EXPRESS, and AIG each respectively and/or their insurers together with each of them
respectively have wrongfully refused to accept coverage for all of
RODRIGUEZ’s losses.

7. Oninformation and belief RODRIGUEZ’s losses DO NOT exceed the Commercial Crime Policy’s limit
of liability for any nor all of the Defendants, so they DO NOT trigger coverage under the Excess
Fidelity and Crime Policy except perhaps where the primary will not cover or where the claim

exceeds coverage and the primary cannot cover.

8. RODRIGUEZ seeks declarations that losses resulting from the Fraud Incident are covered under the
Commercial Crime Policy and/or Excess Fidelity and Crime Policy and/or other insurances.
RODRIGUEZ also seeks (i) damages for breach of contract due to the insurers and/or AlG’s failure
to reimburse RODRIGUEZ for losses under the Commercial Crime Policy, (ii) damages for ‘An
Anonymous undisclosed Insurer’s anticipatory breach of contract to reimburse RODRIGUEZ for
losses under the Excess Fidelity and Crime Policy or in-effect overlapping or primary coverage
obligation, (iii) damages for Insurers and BANK OF AMERICA, CITI BANK, COMERICA BANK,
FAIRWINDS CREDIT UNION, and CAPITAL ONE joint and Several violations of the STATE Insurance

Code, and (iv) attorneys’ fees.
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THE PARTIES

9. Plaintiff PAULO RODRIGUEZ is an individual resident of STATE and COUNTY as well a citizen
thereof. RODRIGUEZ is of such age and status that the Consumer protection laws in STATE protect
him additionally as a consumer. RODRIGUEZ is a natural person within the meaning of the
insurance code of STATE, and he is a first party and third party (interlocking) claimant within the
meaning of those same laws inasmuch as the BANK OF AMERICA, CITI BANK, COMERICA BANK,
FAIRWINDS CREDIT UNION, and CAPITAL ONE Defendants insurances are procured by them
respectively for the benefit of protection of themselves and the assets of each individual account
holder. RODRIGUEZ has suffered great harm and injury from a fraud that took away the funds by a
fraud scheme that the BANK OF AMERICA, CITI BANK, COMERICA BANK, FAIRWINDS CREDIT
UNION, CAPITAL ONE, AMERICAN EXPRESS defendants had knowledge or information of predating
what happened to RODRIGUEZ.

10. The Defendants are identified as follows:

a. BANK OF AMERICA, CITI BANK, COMERICA BANK, FAIRWINDS CREDIT UNION, CAPITAL ONE, and
AMERICAN EXPRESS are respectively banking and financial institutions with respective headquarters in
Charlotte, North Carolina, and other areas as listed above, and on information and belief they each
respectively provided guidance and national administration for their es in each state and county

involved in this suit.

b. On information and belief, Defendant National Union Fire Insurance Company of Pittsburgh, Pa. is an

insurance company formed under Pennsylvania law with its principal place of business in
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Pennsylvania, and it conducts business in theSTATE. National Union Fire Insurance Company of
Pittsburgh, Pa.’s registered agent is located in STATE meaning that they can sue and be sued here

though they are diverse.

c. There is another primary or secondary insurer involved who each of the respective Defendants (ie.
BANK OF AMERICA, CITI BANK, CAPITAL ONE, FAIRWINDS CREDIT UNION, COMERICA, and AMERICAN
EXPRESS) respectively would not identify when asked and AIG would not comment at all when they

were contacted directly. They do business within the state within the jurisdiction of this court.

11. On information and belief, Defendant ‘An Anonymous undisclosed Insurer’ Insurance Company,
Inc. is an insurance company formed under Delaware law with its principal place of business in
Delaware, and it conducts business in the State. Said insurer has a registered agent within this

STATE.

JURISDICTION AND VENUE

12. This Court has subject matter jurisdiction over this action under 28 U.S.C. § 1332(a)(1) because
there is complete diversity of citizenship between the parties and the amount in controversy

exceeds $75,000, exclusive of interest and costs.

13. This Court has personal jurisdiction over the Defendants because each Defendant is authorized to
sell or write insurance in STATE or to do banking business or to extend consumer credit here and,
at all material times, has conducted substantial insurance and/or banking business in state,

including engaging in the business of marketing and selling retail consumer checking and savings
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accounts, banking services to the banks account holders such as RODRIGUEZ, and marketing and

selling insurance that covers policyholders and activities located in STATE.

14. Venue is proper in this Court under 28 U.S.C. § 1391 because the Defendants are subject to
personal jurisdiction in this District and a substantial part of the events or omissions giving rise to
the claims occurred in this District. RODRIGUEZ is in this DISTRICT, the account was procured in
this DISTRICT, and the transfers done by the BANK OF AMERICA, CITI BANK, COMERICA BANK,

FAIRWINDS CREDIT UNION, CAPITAL ONE, and AMEX Defendant originated in this District of STATE.

15. This Court has the power to declare the parties’ rights under 28 U.S.C. § 2201. And the claims and
denial occurred within the last 120 days on a claim made within the limitations periods applicable
and fixed by law such that laches, statute of limitations, and other exceptions to suit do not apply.

See proof annexed.

FACTUAL BACKGROUND

A. The Insurance Policies

16. AIG and the other Insurer jointly or severally sold BANK OF AMERICA, CITI BANK, COMERICA BANK,
FAIRWINDS CREDIT UNION, CAPITAL ONE, AMERICAN EXPRES, AND BANK OF AMERICA all
respectively a Commercial Crime Policy, similar in type and terms as standard policy No. 01-31715-
74, for the policy period covering 2016 through 2019 (the “Primary Crime Policy”) during which
RODRIGUEZ sustained the losses due to the fraud scheme at issue here.

17. On information and belief The Primary Crime Policy provides a number of Insuring Agreements,
including “Computer Fraud” and “Funds Transfer Fraud,” usually with a $5 million Limit of

Insurance Per Occurrence and a $50,000 deductible.
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Ordinarily The “Computer Fraud” Insuring Agreement provides as follows: 6. Computer Fraud We
will pay for loss of or damage to “money”, “securities” and “other property” resulting directly
from the use of any computer to fraudulently cause a transfer of that property from inside the

“premises” or “banking premises”: a. To a person (other than a “messenger”) outside those

“premises”; or b. To a place outside those “premises”. Primary Crime Policy, § A(6).

Ordinarily The Primary Crime Policy defines “money” to include “[c]urrency, coins and bank notes

in current use and having a face value,” while “other property” includes any other tangible

property “that has an intrinsic value.” Primary Crime Policy, §§ F(13), (15). 1 A copy of the Primary
Crime Policy is attached as Exhibit A. 2 Terms in bold reflect the way they appear in the excerpts

quoted from the Policies. Terms in quotation marks are further defined in the Policies.

Ordinarily “Banking premises” is defined as “the interior of that portion of any building occupied

by a banking institution or similar safe depository.” Primary Crime Policy, § F(1).

Ordinarily The “Funds Transfer Fraud” Insuring Agreement provides as follows: 7. Funds Transfer
Fraud We will pay for loss of “funds” resulting directly from a “fraudulent instruction” directing a
financial institution to transfer, pay or deliver “funds” from your “transfer account”. Primary Crime

Policy, § A(7).

Ordinarily “Funds” includes “money” as that term is defined in the Primary Crime Policy. Primary
Crime Policy, § F(9).

Ordinarily The Primary Crime Policy also broadly defines “Fraudulent instruction” as follows: 8.
“Fraudulent instruction” means: a. An electronic, telegraphic, cable, teletype, telefacsimile or

telephone instruction which purports to have been transmitted by you, but which was in fact
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fraudulently transmitted by someone else without your knowledge or consent; b. A written
instruction (other than those described in Insuring Agreement A.2.) issued by you, which was
forged or altered by someone other than you without your knowledge or consent, or which
purports to have been issued by you, but was in fact fraudulently issued without your knowledge
or consent; or c. An electronic, telegraphic, cable, teletype, telefacsimile, telephone or written
instruction initially received by you which purports to have been transmitted by an “employee”
but which was in fact fraudulently transmitted by someone else without your or the “employee’s”
knowledge or consent. Primary Crime Policy, § F(8). Implied in the policy also are funds procured,

or property procured, under false pretenses or by trick, artifice, and/or device.

24. Ordinarily, The Primary Crime Policy covers loss to both property that BANK OF AMERICA, CITI

25.

BANK, COMERICA BANK, FAIRWINDS CREDIT UNION, CAPITAL ONE, AMERICAN EXPRESS “own[s]”
and property that RODRIGUEZ “hold[s] for others whether or not [RODRIGUEZ or BANK OF
AMERICA, CITI BANK, COMERICA BANK, FAIRWINDS CREDIT UNION, CAPITAL ONE, AMERICAN
EXPRESS HEADQUARTERS AND BANK OF AMERICA is] legally liable for the loss of such property.”
See standard Primary Crime Policy, § E(1)(p). Those phrases are not defined, so they must be

interpreted using their common and ordinary meanings.

‘An Anonymous undisclosed Insurer’ sold BANK OF AMERICA, CITI BANK, COMERICA BANK,
FAIRWINDS CREDIT UNION, CAPITAL ONE, and AMERICAN EXPRESS an Excess Fidelity and Crime
Policy, similar in type and terms to No. V227E9180101, for the policy period of 2016 through 2019

(the “Excess Crime Policy”).

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26. Ordinarily The Excess Crime Policy provides up to $5 million in coverage above the Primary Crime

Policy’s limit “for any loss which triggers coverage under the [Primary Crime Policy].” Excess Crime

Policy, § I.

B. The Fraud Incident

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In the manner described herein above and below the accused jointly and severally circumvented
the intent of the law without violating the wording with the tendency or having the quality of
misleading consumers — specifically Rodriguez — and even after it was obvious that this was the
result they took no decisive and protective action to notify the consumers or to keep them from

harm and loss.

BANK OF AMERICA, CITI BANK, AMERICAN EXPRESS, COMERICA BANK, FAIRWINDS CREDIT UNION,
CAPITAL ONE, and AMERICAN EXPRESS respectively manages and controls the clients’ entire
payment process for this portion of the Subsidiary’s business through its complete and sole control
of the Subsidiary’s web portal, the API used to transmit PAYMENT BY CHECK ETC FROM THE
ACCOUNT payment information, and the configuration of client bank account information within
the third-party software application. Neither clients nor the PAYMENT BY CHECK ETC FROM THE
ACCOUNT recipient have any relationship with the third-party software application or the
application’s provider, any ability to affect how the portal processes payment information, or any
ability to dictate what application used, if any, for a funds processing mechanism. They never see
or communicate with the third party software application, they cannot log into that application,
and they cannot change the disbursement instructions within that application. Each

creditor/bank/lender alone controls the payments that it holds for clients throughout the process

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of receiving such funds through the wiring process portal, to the clearing account, and then to the

receiving bank and/or bank accounts.

Over the last 3 years, one or more unauthorized parties (the “Perpetrator(s)”) used a multi-level
marketing scheme to obtain and to alter the account credentials of RODRIGUEZ and to cause him
to allow that the bank forward the FUNDING funds to their bank. The Perpetrator(s) used those
credentials to access the third-party software application to change certain bank account
disbursement instructions provided and BANK OF AMERICA, CITI BANK, COMERICA BANK,
FAIRWINDS CREDIT UNION, CAPITAL ONE, and AMERICAN EXPRESS each respectively knew about
the multi-level marketing fraud scheme of MOBE long before RODRIGUEZ ever came along
however they never informed RODRIGUEZ at any time during transactions between the account
and MOBE which they each controlled. By changing those instructions, the Perpetrator(s) diverted
more than S60K that had been collected and saved by RODRIGUEZ before the funds were

disbursed to several clients or one in receiving institutions.

Despite RODRIGUEZ’s loss as a result of the Fraud Incident, RODRIGUEZ has attempted to amicably
resolve the matters with BANK OF AMERICA, CITI BANK, COMERICA BANK, FAIRWINDS CREDIT
UNION, CAPITAL ONE, and AMERICAN EXPRESS through their CLAIMS PROCESSING program for
recovery from Fraud. RODRIGUEZ lost more than S60K that was never recovered and claims
entitlement to treble damages for the Defendants joint and several deliberate indifference,

participation through inaction, and failure to process and reverse funds to RODRIGUEZ.

C. RODRIGUEZ’s Coverage Claim

32.

The Primary Crime Policy and Excess Crime Policy under the insurers to the benefit of BANK OF

AMERICA and is clientele and account holders were all in effect at all relevant times.

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33.

RODRIGUEZ gave notice of the Fraud Incident under the Policies, asked for a claim number, asked

for the claims processor/adjuster, and asked for any appeals process upon any denial.

34. RODRIGUEZ provided extensive information to the BANK OF AMERICA, CITI BANK,

COMERICA BANK, FAIRWINDS CREDIT UNION, CAPITAL ONE, AND AMEX folks respectively and

Insurers/AIG as requested, orally and in writing, and submitted a formal proof of loss in 2018, and

2019.

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In response, BANK OF AMERICA, CITI BANK, COMERICA BANK, FAIRWINDS CREDIT UNION, CAPITAL
ONE, AMERICAN EXPRESS and the Insurers/A!G wrongly denied coverage and put their own joint
and several interests above those of the retail checking account consumer RODRIGUEZ, all in

breach of its duties to RODRIGUEZ.

On information and belief BANK OF AMERICA, CIT} BANK, COMERICA BANK, FAIRWINDS CREDIT
UNION, CAPITAL ONE, AMERICAN EXPRESS and the insurers/AIG sent a letter admitting that the
Fraud Incident triggered coverage under the Primary Crime Policy’s Computer Fraud insuring

agreement or other insurance provision.

However, the insurer and/or AIG accepted coverage only for a limited portion of MOBE related
losses and none of RODRIGUEZ’s losses consisting of diverted funds and funds procured out of

RODRIGUEZS account/debit account through PAYMENT BY CHECK ETC FROM THE ACCOUNT under

false pretenses.

Insurers and/or AIG wrongfully asserted or found or BANK OF AMERICA, CITI BANK,

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BANK, COMERICA BANK, FAIRWINDS CREDIT UNION, CAPITAL ONE, and AMERICAN EXPRESS
CONCLUDED WRONGLY that the Primary Crime Policy does not cover RODRIGUEZ’s losses

consisting of diverted funds and funds procured through other fraudulent means.

RODRIGUEZ provided BANK OF AMERICA, CITI BANK, COMERICA BANK, FAIRWINDS CREDIT UNION,
CAPITAL ONE, AMERICAN EXPRESS and the insurers and/or AIG with clear and undisputed
information concerning the fraud and its nature and occurrence, and payment of the funds at
issue, all of which demonstrate that the funds were diverted, which information demonstrated
RODRIGUEZ’s right to coverage for her claims and/or recovery. However, BANK OF AMERICA, CITI
BANK, COMERICA BANK, FAIRWINDS CREDIT UNION, CAPITAL ONE, AMERICAN EXPRESS and the
Insurers and/or AIG ignored and mischaracterized this information and wrongfully denied

coverage that rightfully exists under the Primary Crime Policy (and the Excess Crime Policy).

Notwithstanding AIG’s wrongful position, RODRIGUEZ continued to work with AIG, including by
providing additional information and explanation at AIG’s AND THE BANKS request and offering to

further discuss the claim with AIG.

However, the insurers and/or AIG by and through BANK OF AMERICA, CITI BANK, COMERICA BANK,
FAIRWINDS CREDIT UNION, AMEX, and CAPITAL ONE denials reiterated its erroneous coverage
position and continues to refuse to provide substantial benefits under the Primary Crime Policy,

and if the insurers has not denied RODRIGUEZ then BANK OF AMERICA, CITI BANK, COMERICA
BANK, FAIRWINDS CREDIT UNION, AMEX, and CAPITAL ONE position is unwarranted and they have
violated the insurance claim processing laws of the STATE which is widely known law in their

claims processing departments.

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42. Even though RODRIGUEZ’s losses DO NOT exceed the Primary Crime Policy's limit, ‘An Anonymous
undisclosed Insurer’ has also provided no benefits under the Excess Crime Policy in connection
with the Fraud Incident, where they have a duty to contribute or cover primarily any sums not

covered by the primary insurance carriers.

43. On information and belief RODRIGUEZ has complied with all of the Policies’ provisions to the
extent required by law and has repeatedly stated disagreement with insurers and/or AIG’s and/or
BANK OF AMERICA, CITI BANK, COMERICA BANK, FAIRWINDS CREDIT UNION, CAPITAL ONE , and
AMEX positions.

44. BANK OF AMERICA, CITI BANK, COMERICA BANK, FAIRWINDS CREDIT UNION, CAPITAL ONE,
AMERICAN EXPRESS and The Insurers’ refusal to pay is wrongful and constitutes a breach of the

Policies which in turn is violating RODRIGUEZS right of recovery and he is harmed and injured by it.

CAUSES OF ACTION

A. Declaratory Relief (Against AIG and/or insurers and/or BANK OF AMERICA, CITI BANK, COMERICA

BANK, FAIRWINDS CREDIT UNION, CAPITAL ONE, and AMERICAN EXPRESS)

45. RODRIGUEZ repeats and re-alleges the allegations set forth in Paragraphs 1 through 44.

46. AIG and/or the insurers and/or BANK OF AMERICA, CITI BANK, COMERICA BANK, FAIRWINDS
CREDIT UNION, CAPITAL ONE, AMERICAN EXPRESS agreed, implicitly and by acquiring the
insurances to cover such incidents as those which deprived RODRIGUEZ of her funds and Recovery
thereof, to indemnify BANK OF AMERICA, CITI BANK, COMERICA BANK, FAIRWINDS CREDIT UNION,

CAPITAL ONE, AMERICAN EXPRESS and RODRIGUEZ for losses incurred as a result of Computer

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51.

Fraud or Funds Transfer Fraud as provided under the Primary Crime Policy and other insurances

applicable.

RODRIGUEZ suffered covered losses under the Primary Crime Policy and other insurances

applicable in connection with the Fraud Incident.

RODRIGUEZ has complied with all terms, conditions and prerequisites to coverage under the
Primary Crime Policy to the extent required by law and other insurances applicable, and he
complied with the BANK OF AMERICA, CITI BANK, COMERICA BANK, FAIRWINDS CREDIT UNION,
CAPITAL ONE, and AMERICAN EXPRESS reporting requirements as to filing to recover from the

fraud incident.

The insurers and/or AIG and/or BANK OF AMERICA, CITI BANK, COMERICA BANK, FAIRWINDS
CREDIT UNION, CAPITAL ONE, AMERICAN EXPRESS improperly refused to reimburse RODRIGUEZ

for the losses.

An actual and justifiable controversy exists between RODRIGUEZ and named defendants and the
insurers and/or AIG concerning their respective rights and obligations generally and the rights and
obligations under the Primary Crime Policy, including the insurers and/or BANK OF

AMERICA, CITI BANK, COMERICA BANK, FAIRWINDS CREDIT UNION, CAPITAL ONE, AMEX, and/or
AIG’s obligation and refusal to provide coverage/compensation to RODRIGUEZ for its losses in
connection with the Fraud Incident.

The controversy is ripe and of sufficient immediacy to justify the issuance of a declaratory

judgment. The issuance of declaratory relief and subsequent compliance by the insurers and/or

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BANK OF AMERICA, CITI BANK, COMERICA BANK, FAIRWINDS CREDIT UNION, CAPITAL ONE, AMEX,
and/or AIG should be sufficient to resolve the existing controversy between RODRIGUEZ and as well as

all express and implied Defendants in this cause of action.

52. Pursuant to 28 U.S.C. § 2201 and Federal Rule of Civil Procedure 57, RODRIGUEZ seeks a
declaratory judgment that the Primary Crime Policy and other policies of AIG and/or other

insurers/insurances covers RODRIGUEZ’s losses in connection with the Fraud Incident.

B. Declaratory Relief (Against ‘An Anonymous undisclosed Insurer’)

53. RODRIGUEZ repeats and re-alleges the allegations set forth in Paragraphs 1 through 52.

54. ‘An Anonymous undisclosed Insurer’ agreed to indemnify BANK OF AMERICA, CITI BANK,
COMERICA BANK, FAIRWINDS CREDIT UNION, CAPITAL ONE, AMERICAN EXPRESS and
THUSLY RODRIGUEZ as a retail consumer credit and consumer account holder for losses in excess
of the Primary Crime Policy, as provided under the Excess Crime Policy, and duty of contribution or

primary coverage under the unknown policy.

55. On information and belief RODRIGUEZ suffered covered losses under the Excess Crime Policy in

connection with the Fraud Incident.

56. On information and belief RODRIGUEZ complied with all terms, conditions and prerequisites to

coverage under the Excess Crime Policy to the extent required by law.

57. ‘An Anonymous undisclosed Insurer’ and/or BANK OF AMERICA, CIT] BANK, COMERICA BANK,
FAIRWINDS CREDIT UNION, CAPITAL ONE, AMERICAN EXPRESS has improperly refused to provide

coverage to RODRIGUEZ and as such has not reimbursed RODRIGUEZ for funds lost via Fraudulent

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and/or fraudulently procured PAYMENT BY CHECK ETC FROM THE ACCOUNT or otherwise
forwarded to an entity that BANK OF AMERICA, CITI BANK, COMERICA BANK, FAIRWINDS CREDIT
UNION, CAPITAL ONE, and AMERICAN EXPRESS had knowledge, information, and belief regarding

the said receiving entity defrauding consumer credit and consumer banking customers.

58. An actual and justifiable controversy exists between RODRIGUEZ and ‘An Anonymous undisclosed
Insurer’ concerning their respective rights and obligations under the Excess Crime Policy, including ‘An
Anonymous undisclosed Insurer’s obligation and refusal to provide coverage to RODRIGUEZ for its

losses in connection with the Fraud Incident.

59. The controversy is ripe and of sufficient immediacy to justify the issuance of a declaratory
judgment. The issuance of declaratory relief and subsequent compliance by ‘An Anonymous
undisclosed Insurer’ should be sufficient to resolve the existing controversy between RODRIGUEZ

and ‘An Anonymous undisclosed Insurer’ in this cause of action.

60. Pursuant to 28 U.S.C. § 2201 and Federal Rule of Civil Procedure 57, RODRIGUEZ seeks a
declaratory judgment that the Excess Crime Policy covers RODRIGUEZ’s losses in connection with

the Fraud Incident.

C. Breach of Contract (Against AIG and/or insurers and/or BANK OF AMERICA, CITI BANK,

BANK, COMERICA BANK, FAIRWINDS CREDIT UNION, CAPITAL ONE, AMERICAN EXPRESS)

61. RODRIGUEZ repeats and re-alleges the allegations set forth in Paragraphs 1 to 60.

62. The Primary Crime Policy is a valid and enforceable contract between BOA and AIG and/or insurers

and where the failure to observe that contract it impacts a banking client the client may institute

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proceedings to make the respective competing parties hash out their differences and to find which

party is at fault and who is responsible for making RODRIGUEZ whole.

AIG and the insurers was and is required to indemnify BANK OF AMERICA, CITI BANK, COMERICA
BANK, FAIRWINDS CREDIT UNION, CAPITAL ONE, AMERICAN EXPRESS and thusly RODRIGUEZ for
losses resulting from the Fraud Incident under the terms of the Primary Crime Policy and other

coverages in place.

RODRIGUEZ complied with all terms, conditions and prerequisites to coverage under the Primary
Crime Policy to the extent required by law, or was excused from doing so. And BANK OF AMERICA,
CIT] BANK, COMERICA BANK, FAIRWINDS CREDIT UNION, CAPITAL ONE, AMERICAN EXPRESS is
believed to have complied with all terms, conditions, and prerequisites to coverage of

RODRIGUEZS claims under the insurances in place. Or they did not. Either way RODRIGUEZ was

not reimbursed on his claim duly presented.

The insurers and/or AIG wrongfully denied coverage to BOA and thusly RODRIGUEZ for losses

resulting from the Fraud Incident in breach of the Primary Crime Policy.

RODRIGUEZ has incurred significant losses in connection with the Fraud Incident and its claim,
including the diverted funds, loss of use, loss of confidence in banking and financial institutions of
America, and costs and fees of pursuing these matters despite being discouraged by the BANK OF
AMERICA Defendants and AIG and other insurers.

As a direct and proximate result of the Insurers and/or AIG’s breach of the Primary Crime Policy,

and BANK OF AMERICA, CITI BANK, COMERICA, FIARWINDS, AMEX, and CAPITAL ONE failure in

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claims processing and awards, RODRIGUEZ has suffered and will continue to suffer monetary

damages in an amount to be determined at trial.

D. Anticipatory Breach of Contract (Against ‘An Anonymous undisclosed Insurer’ and BANK OF

AMERICA DEFENDANTS)

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RODRIGUEZ repeats and re-alleges the allegations set forth in Paragraphs 1 through 67.
The Excess Crime Policy is a valid and enforceable contract between The insurers and BANK OF
AMERICA, CITI BANK, COMERICA BANK, FAIRWINDS CREDIT UNION, CAPITAL ONE, AMEX, and/or

AIG which operates to the Benefit of account holders subjected to named frauds like RODRIGUEZ.

Ordinarily The Excess Crime Policy “follows form” to the Primary Crime Policy, ordinarily stating

that it provides coverage “for any loss which triggers coverage under the [Primary Crime Policy].”

RODRIGUEZ complied with all terms, conditions and prerequisites to coverage under the Primary
Crime Policy to the extent required by law, or was excused from doing so. And on information and
belief BANK OF AMERICA, CIT} BANK, BANK, CAPITAL ONE, and AMERICAN EXPRESS complied with
all terms, conditions, and prerequisites to coverage and granting of claims.

RODRIGUEZ has incurred significant losses in connection with the Fraud Incident and its claim,
including the diverted funds, NOT in excess of the limit of the Primary Crime Policy but triggering
the duty of the other policies to contribute and cover what any other insurer did not or would not
it is believed.

As a direct and proximate result of BANK OF AMERICA, CITI BANK, COMERICA BANK, FAIRWINDS
CREDIT UNION, CAPITAL ONE, AMEX, and ‘An Anonymous undisclosed Insurer’s anticipatory
breach of the Excess Crime Policy, RODRIGUEZ has suffered and will suffer monetary damages in

an amount to be determined at trial.

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E. Violation of STATE Insurance Code

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RODRIGUEZ repeats and re-alleges the allegations set forth in Paragraphs 1 through 74.

AIG and the other anonymous insurer violated STATE Insurance Code by engaging in prohibited
unfair insurance practices with respect to RODRIGUEZ’s claim, including by failing to attempt in
good faith to effectuate a prompt, fair and equitable settlement of the claim once liability had

become reasonably clear.

As a result of BANK OF AMERICA, CITI BANK, COMERICA BANK, FAIRWINDS CREDIT UNION,
CAPITAL ONE, AMEX, and AIG and the other anonymous insurers unfair insurance practices,
RODRIGUEZ has suffered and will continue to suffer monetary damages, including court costs and

attorneys’ fees in this coverage action, in an amount to be determined at trial.

AIG and the other anonymous insurer and/or BANK OF AMERICA, CITI BANK,

COMERICA BANK, FAIRWINDS CREDIT UNION, CAPITAL ONE, AMERICAN EXPRESS

Are all jointly and severally believed to be also liable to RODRIGUEZ for up to three times the actual
damages sustained by RODRIGUEZ for knowing commission of these unfair insurance practices by

all subject to claims processing laws named herein and as per the circumstances involved.

F. Violation of STATE Insurance Code

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RODRIGUEZ repeats and re-alleges the allegations set forth in Paragraphs 1 through 78.

AIG and the other anonymous insurer violated STATE insurance Code by failing to comply with the

deadlines imposed, including by failing to pay RODRIGUEZ’s losses within the time required under

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STATE Insurance Code after receiving all the information reasonably requested and required.

81. As a result of its violations of the STATE Insurance Code all Defendants may be and should be
found jointly and severally liable to pay to RODRIGUEZ 15% interest per year (per violation) on the

amount of its claim as damages, in an amount to be determined at trial.

82. All parties are jointly and severally also liable to RODRIGUEZ for attorneys’ fees for this action, in

an amount to be determined at trial.
JURY DEMAND
RODRIGUEZ requests a trial by jury for all issues so triable.
RELIEF SOUGHT

RODRIGUEZ respectfully requests favorable judgment as follows:

a. For declaratory judgment that RODRIGUEZ suffered covered losses that The Insurers are obligated
to pay and that BANK OF AMERICA, CITI BANK, COMERICA BANK, FAIRWINDS CREDIT UNION,

CAPITAL ONE, and AMEX were liable to see to the processing and payment on;

b. For declaratory judgment that RODRIGUEZ suffered covered losses that ‘An Anonymous undisclosed

Insurer’ is obligated to pay under the Excess Crime Policy or contribution due;

c. For all actual damages arising from breach of contract, in amounts to be shown at trial and treble
damages as permitted by the law and circumstances AND FOR AN ORDER COMPELLING THE
ADJUSTMENT OF THE NEGATIVE REPORTING THAT HAS GONE OUT TO CREDIT BUREAUS
REGARDING THESE MATTERS AND THE ACCOUNTS IMPACTED BY THEM;

d. For all damages recoverable under the STATE Insurance Code AND NOT LESS THAN 5100K

PUNITIVE DAMAGES FOR VIOLATION OF CLEARLY AND WIDELY KNOWN LAW;

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e. For attorneys’ fees, costs and recoveries allowable in law under this action; and

f. For such other and further relief as the Court deems just and proper.

Dated: December 18th, 2019

Respectfully submitted,

PAULO RODRIGUEZ
600 NE 36 ST PH-22

MIAMI, FL 33137

AFFIDAVIT IN VERIFICATION

|, PAULO RODRIGUEZ, DO HEREBY STATE ALL HEREIN AS TRUTH SWORN UNDER PENALTY OF PERJURY
UNDER THE STATE LAWS AND RECORD/CLAIMS ACCURACY LAWS THIS 12/18/19.

1. | AM OVER AGE 18.

2. ALL SET FORTH HEREIN AND ABOVE AND ANNEXED ARE TRUTH AND TO THE
EXTENT ANYTHING IS ON INFORMATION AND BELIEF IT IS BELIEVED TO BE
TRUTH.

3. IF CALLED TO REPEAT ANY OF IT! WOULD, AND | WOULD LIKE EVERYONES
INSURANCES ASAP.

4. 1AM A FIRST-HAND WITNESS AND VICTIM OF ALL EXPLAINED.

5. THE ATTACHED DOCUMENTS, IF ANY, ARE ORIGINALS FROM MY PERSONAL

RECORDS.

6. | HAVE NEVER SEEN ANY PROOF OR EVIDENCE THAT AFFIDAVITS ARE NOT

PRIMA FACIE PROOF OF THE TRUTH AND ACCEPTED AS SUCH IN THESE COURTS. AND,
| HAVE NEVER SEEN ANY PROOF OR EVIDENCE THAT THE TRUTH IS NOT AS I’VE
STATED HEREIN ABOVE AND AS ATTACHED AND | DO NOT BELIEVE THAT ANY PROOF
AND EVIDENCE EXISTS TO DEMONSTRATE THE TRUTH IS OTHER THAN STATED AND
REQUIRE STRICT PROOFS IF ANY SUGGESTS

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BY BUG, KATHY MENDOZA

% Notary Public - State of Florida
Commission # FF 941775

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| do hereby swear that a true and correct copy of the above and attachments are forwarded to the
court via usps CERT. MAIL RRR postage prepaid FOR PROCESSING AND INITIATION OF CASE FILE
NUMBER AND GENERATION OF SUMMONSES TO BE SERVED and the parties in and of interest listed in
the case (state) including the agency business owner/head personally by forwarding to the business
addresses thereof and as stated in the case on this date or by hand delivery provided it to the same.
All prepaid. Sworn under penalty of perjury under the laws of the STATE. IT IS ASKED

THAT YOU WAIVE SERVICE BY NOTICE TO ME IN WRITING TO SAVE US THE COST OF SERVING YOU OR
IF YOU WOULD REQUIRE SERVICE IN A SPECIAL FASHION TO A DIFFERENT LOCATION OR PERSON
PLEASE LET US KNOW IN WRITING IMMEDIATELY, IF WE ARE ABLE TO REACH A NEGOTIATED
RESOLUTION NO SUIT WILL BE INITIATED AGAINST YOU OR IF INITIATED IT WILL BE DISMISSED
VOLUNTARILY. IF WE DO NOT HEAR FROM YOU WE WILL GET SUMMONSES AND SUBPOENA DUCES

TECUMS AND SERVE YOU. Sworn per 28 USC 1746.

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SS: /s/_x lb-e2zz- [L.S./SEAL] date done
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PAULO RODRIGUEZ

      
 

 
  
  

  

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KATHY MENDOZA
Notary Public - State of Florida
Commission # FF 941775
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Exp: Jan 13, 24 Cap

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